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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISON


   JILL BABCOCK, et al.,

                 Plaintiffs,                             Case No. 22-cv-12951

   v.                                                    HON. MARK A. GOLDSMITH

   STATE OF MICHIGAN, et al.,

               Defendants.
   ______________________________________/

                               ORDER APPOINTING FACILITATOR

          The parties have agreed on the appointment of former United States Magistrate Judge

   Mona Majzoub as facilitator for this matter. Pursuant to Federal Rule of Civil Procedure

   16(c)(2)(P) and Local Rule 16.3, the Court refers this matter for facilitation and appoints

   former United States Magistrate Judge Mona Majzoub as facilitator.

          The facilitator’s fees and costs shall be borne pro rata by the parties.

          SO ORDERED.

   Dated: April 28, 2023                         s/Mark A. Goldsmith
   Detroit, Michigan                             MARK A. GOLDSMITH
                                                 United States District Judge
